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    In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                 Filed: March 8, 2024

* * * * * * * * * * * * * *
RACHEL ZALE,               *                        UNPUBLISHED
                           *
         Petitioner,       *                        No. 20-613V
                           *
v.                         *                        Special Master Dorsey
                           *
SECRETARY OF HEALTH        *                        Attorneys’ Fees and Costs
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *

Diana L. Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.
Voris Edward Johnson, U.S. Department of Justice, Washington, D.C., for Respondent.

                    DECISION ON ATTORNEYS’ FEES AND COSTS 1

        On May 15, 2020, Rachel Zale (“Petitioner”) filed a petition in the National Vaccine
Injury Program 2 alleging that she suffered anterior uveitis as a result of a meningococcal
conjugate vaccine (“MCV”) she received on June 12, 2018. Petition at 1, 3 (ECF No. 1). On
April 6, 2023, the parties filed a stipulation, which the undersigned adopted as her decision
awarding compensation on the same day. (ECF No. 75).



1
  This Decision will be posted on the website of the United States Court of Federal Claims'
website, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2018).
This means the Decision will be available to anyone with access to the internet. As provided
by 44 U.S.C. § 300aa-12(d)(4)B), however, the parties may object to the published Decision’s
inclusion of certain kinds of confidential information. Specifically, Under Vaccine Rule 18(b),
each party has 14 days within which to request redaction “of any information furnished by that
party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical filed or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the
whole decision will be available to the public in its current form. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2018) (“Vaccine Act” or “the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C. §§ 300aa.
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         On June 27, 2023, Petitioner filed an application for attorneys’ fees and costs. Motion for
Attorney Fees and Costs (ECF No. 80). Petitioner requests compensation in the amount of
$121,277.53, representing $101,454.50 in attorneys’ fees and $19,823.03 in costs. Fees App. at
1. Pursuant to General Order No. 9, Petitioner warrants that she has not personally incurred any
costs in pursuit of her claim for compensation. Fees App., Ex. 4. Respondent filed his response
on June 28, 2023, indicating that he “is satisfied the statutory requirements for an award of
attorneys’ fees and costs are met in this case.” Response at 2 (ECF No. 90). Petitioner did not
file a reply thereafter. The matter is now ripe for disposition.

       For the reasons discussed below, the undersigned GRANTS Petitioner’s motion and
awards a total of $121,277.53.

       I.       Discussion

        Under the Vaccine Act, the special master shall award reasonable attorneys’ fees and
costs for any petition that results in an award of compensation. 42 U.S.C. § 300aa-15(e)(1).
When compensation is not awarded, the special master “may” award reasonable attorneys’ fees
and costs “if the special master or court determines that the petition was brought in good faith
and there was a reasonable basis for the claim for which the petition was brought.” Id. at
§15(e)(1). In this case, because Petitioner was awarded compensation pursuant to a
stipulation, she is entitled to a final award of reasonable attorneys’ fees and costs.

                a.     Reasonable Attorneys’ Fees

         The Federal Circuit has approved use of the lodestar approach to determine reasonable
attorney’s fees and costs under the Vaccine Act. Avera v. Sec’y of Health & Hum. Servs., 515
F.3d 1343, 1349 (Fed. Cir. 2008). Using the lodestar approach, a court first determines “an
initial estimate of a reasonable attorney’s fee by ‘multiplying the number of hours reasonably
expended on the litigation times a reasonable hourly rate.’” Id. at 1347-58 (quoting Blum v.
Stenson, 465 U.S. 886, 888 (1984)). Then, the court may make an upward or downward
departure from the initial calculation of the fee award based on other specific findings. Id. at
1348.

        Counsel must submit fee requests that include contemporaneous and specific billing
records indicating the service performed, the number of hours expended on the service, and the
name of the person performing the service. See Savin v. Sec’y of Health & Hum. Servs., 85 Fed.
Cl. 313, 316-18 (2008). Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton v. Sec’y of Health & Hum. Servs., 3
F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). It is
“well within the special master’s discretion to reduce the hours to a number that, in [her]
experience and judgment, [is] reasonable for the work done.” Id. at 1522. Furthermore, the
special master may reduce a fee request sua sponte, apart from objections raised by respondent
and without providing a petitioner notice and opportunity to respond. See Sabella v. Sec’y of
Health & Hum. Servs., 86 Fed. Cl. 201, 209 (2009).


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       A special master need not engage in a line-by-line analysis of a petitioner’s fee
application when reducing fees. Broekelschen v. Sec’y of Health & Hum. Servs., 102 Fed. Cl.
719, 729 (2011). Special masters may rely on their experience with the Vaccine Program and its
attorneys to determine the reasonable number of hours expended. Wasson v. Sec’y of Health &
Hum. Servs., 24 Cl. Ct. 482, 484 (Fed. Cl. Nov. 19, 1991), rev’d on other grounds and aff’d in
relevant part, 988 F. 2d 131 (Fed. Cir. 1993). Just as “[t]rial courts routinely use their prior
experience to reduce hourly rates and the number of hours clamed in attorney fee requests . . .
[v]accine program special masters are also entitled to use their prior experience in reviewing fee
application.” Saxton, 3 F. 3d at 1521.

                       i.     Reasonable Hourly Rates

       Petitioner requests the following hourly rates for the work of her counsel, Ms. Diana
Stadelnikas: $415.00 per hour for work performed in 2019, $440.00 per hour for work performed
in 2020, $470.00 per hour for work performed in 2021, $490.00 per hour for work performed in
2022, and $525.00 per hour for work performed in 2023. These rates are consistent with what
counsel has previously been awarded for her Vaccine Program work, and the undersigned finds
them to be reasonable herein.

                       ii.    Reasonable Hours Expended

        In reducing an award of fees, the goal is to achieve rough justice, and therefore a special
master may take into account their overall sense of a case and may use estimates when reducing
an award. See Florence v. Sec’y of Health & Hum. Servs., No. 15-255V, 2016 WL 6459592, at
*5 (Fed. Cl. Spec. Mstr. Oct. 6, 2016) (citing Fox v. Vice, 563 U.S. 826, 838 (2011)). It is well
established that an application for fees and costs must sufficiently detail and explain the time
billed so that a special master may determine, from the application and the case file, whether the
amount requested is reasonable. Bell v. Sec’y of Health & Hum. Servs., 18 Cl. Ct. 751, 760
(1989); Rodriguez, 2009 WL 2568468. Petitioner bears the burden of documenting the fees and
costs claimed. Rodriguez, 2009 WL 2568468, at *8.

        The undersigned has reviewed the submitted billing entries and finds the total number of
hours billed to be reasonable. The billing entries accurately reflect the nature of the work
performed and the undersigned does not find any of the entries to be objectionable. Respondent
also has not indicated that he finds any of the entries to be objectionable either. Petitioner is
therefore awarded final attorneys’ fees of $101,454.50.

               b.      Attorneys’ Costs

        Petitioner requests a total of $19,823.03 in attorneys’ costs. This amount is comprised of
acquiring medical records, the Court’s filing fee, postage, and work performed by Petitioner’s
medical expert, Dr. Joseph Rizzo. Invoices for Dr. Rizzo show he billed 26.95 hours in 2021 at a
rate of $700.00 per hour. Although Dr. Rizzo has been previously awarded the rate of $650.00
per hour for his work in the program, the undersigned finds an increase reasonable. He is a
highly specialized expert who provided a thorough and well-written report in this case, as
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described in the undersigned’s Rule 5 Order. Further, this case settled after the expert report
from Dr. Rizzo was filed. The undersigned has reviewed the requested costs and finds them to
be reasonable, and will award them in full.

          II.    CONCLUSION

        Based on all of the above, the undersigned finds that it is reasonable compensate
Petitioner and her counsel as follows:

    Attorneys’ Fees Requested                                      $101,454.50
    (Total Reduction from Billing Hours)                                -
    Total Attorneys’ Fees Awarded                                  $101,454.50

    Attorneys’ Costs Requested                                      $19,823.03
    (Reduction of Costs)                                                 -
    Total Attorneys’ Costs Awarded                                  $19,823.03

    Total Attorneys’ Fees and Costs Awarded                        $121,277.53

       Accordingly, the undersigned awards $121,277.53 in attorneys’ fees and costs, in the
form of a check payable jointly to Petitioner and Petitioner’s counsel, mctlaw. Petitioner
requests payment be forwarded to mctlaw, 1605 Main Street, Suite 710, Sarasota, Florida,
34236.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with this decision. 3

          IT IS SO ORDERED.

                                                     s/Nora Beth Dorsey
                                                     Nora Beth Dorsey
                                                     Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing
of notice renouncing the right to seek review.
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